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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 1:17-cv-21138-CIV-ALTONAGA/Goodman


  JOSE A. FERNANDEZ,

         Plaintiff,

  v.

  DIRECTV, LLC.;
  I.C. SYSTEM, INC.;
  and EQUIFAX, INC.,

        Defendants.
  _____________________________/

                      JOINT STIPULATION FOR VOLUNTARY DISMISSAL

         Plaintiff, Jose A. Fernandez, (“Plaintiff”), and Defendants, DirecTV, LLC., I.C. Systems,

  Inc., and Equifax, Inc., (Defendants) by and through the undersigned counsels of record,

  pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, hereby file this Joint

  Voluntary Dismissal. Plaintiff agrees to dismiss the instant action against Defendants with

  prejudice. Plaintiff and Defendants agree to bear responsibility for their own attorneys' fees and

  costs associated with the instant action. The parties further agree to release each other, the

  undersigned attorneys, and law firms from any and all claims relating to this lawsuit.


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 16th day of August 2017, that the foregoing document

  is being served this date via U.S. mail and/ or some other authorized manner for those counsel or

  parties, if any, who are not authorized to receive electronic notices.

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